                                                                                                      Buccaneer Resources Liquidating Trust
                                                     Case 14-60041 DocumentReceipts
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                                                                                      Disbursements
                                                                                                           September 2017 through February 2018



                      Type         Date       Num                     Name                          Memo                           Account            Clr                      Split                 Debit        Credit


RECEIPTS:
    Interest Income
                  Deposit        09/29/2017           Merrill Lynch                 September 2017 Interest Income    Merrill Lynch 3481                   Interest Income                             71.79
                  Deposit        10/31/2017           Merrill Lynch                 October 2017 Interest Income      Merrill Lynch 3481                   Interest Income                            130.25
                  Deposit        11/30/2017           Merrill Lynch                 November 2017 Interest Income     Merrill Lynch 3481                   Interest Income                            166.57
                  Deposit        12/31/2017           Merrill Lynch                 December 2017 Interest Income     Merrill Lynch 3481                   Interest Income                            231.21
                  Deposit        01/31/2018   DEP     Merrill Lynch                 January 2018 Interest Income      Merrill Lynch 3481                   Interest Income                            296.03
                  Deposit        02/28/2018   DEP     Merrill Lynch                 February 2018 Interest Income     Merrill Lynch 3481                   Interest Income                            308.72
    Total Interest Income                                                                                                                                                                            1,204.57           -


TOTAL RECEIPTS                                                                                                                                                                                       1,204.57           -


DISBURSEMENTS:

    United States Trustee Fees
                  Check          10/12/2017   1757    U.S. Trustee Payment Center   413-14-60041                      Texas Capital Bank 8111056217        68500 · U.S. Trustee Fees                             13,000.00
                  Check          01/12/2018   1770    U.S. Trustee Payment Center   416-14-60041                      Texas Capital Bank 8111056217        68500 · U.S. Trustee Fees                               650.00
    Total United States Trustee Fees                                                                                                                                                                         -    13,650.00


    Taxes
                  Check          09/06/2017   1752    United States Treasury        XX-XXXXXXX FYE: 12/31/16          Texas Capital Bank 8111056217        68051 · Tax - Federal                                     71.00
    Total Taxes                                                                                                                                                                                              -        71.00


    Professional Fees
                  Check          09/11/2017   1753    Compton & Wendler, P.C.       Invoice 44210                     Texas Capital Bank 8111056217        CWPC                                                  12,515.20
                  Check          09/18/2017   1754    Compton & Wendler, P.C.       44339                             Texas Capital Bank 8111056217        CWPC                                                  12,519.00
                  Check          09/22/2017   1756    Locke Lord LLP                Invoice 1357196                   Texas Capital Bank 8111056217        LL                                                      500.00
                  Check          10/23/2017   1760    Compton & Wendler, P.C.                                         Texas Capital Bank 8111056217        CWPC                                                  12,693.85
                  Check          11/15/2017   1761    Locke Lord LLP                Invoice 1362425                   Texas Capital Bank 8111056217        LL                                                     1,100.50
                  Check          11/15/2017   1762    Compton & Wendler, P.C.       Invoice 44761                     Texas Capital Bank 8111056217        CWPC                                                  12,618.00
                  Check          11/22/2017   1763    Locke Lord LLP                Invoice 1370725                   Texas Capital Bank 8111056217        LL                                                      100.00
                  Check          12/15/2017   1766    Compton & Wendler, P.C.       Invoice 45035                     Texas Capital Bank 8111056217        CWPC                                                  12,782.10
                  Check          02/15/2018   1773    Compton & Wendler, P.C.                                         Texas Capital Bank 8111056217        -SPLIT-                                               25,700.00
    Total Professional Fees                                                                                                                                                                                  -    90,528.65


    Other
                  Check          09/05/2017   1751    Safesite, Inc.                Invoice SH-106633                 Texas Capital Bank 8111056217        68000 · Storage Fees                                    164.50
                  Check          09/22/2017   1755    Epiq Bankruptcy Solutions     40008193                          Texas Capital Bank 8111056217        61700 · Computer and Internet Expenses                  668.80
                  Check          10/06/2017           Merrill Lynch                 Account Fee                       Merrill Lynch 3481                   60400 · Bank Service Charges                            300.00
                  Check          10/12/2017   1758    Safesite, Inc.                Invoice SH-107626                 Texas Capital Bank 8111056217        68000 · Storage Fees                                    164.50
                  Check          10/17/2017   1759    Epiq Bankruptcy Solutions     40008193 Invoice 90212988         Texas Capital Bank 8111056217        61700 · Computer and Internet Expenses                  672.10
                  Check          11/30/2017   1764    Safesite, Inc.                Invoice SH-109616                 Texas Capital Bank 8111056217        68000 · Storage Fees                                    164.50
                  Check          12/19/2017   1767    Epiq Bankruptcy Solutions     90221548                          Texas Capital Bank 8111056217        61700 · Computer and Internet Expenses                  632.85
                  Check          01/02/2018   1768    Safesite, Inc.                Invoice SH-110604                 Texas Capital Bank 8111056217        68000 · Storage Fees                                    164.50
                  Check          01/02/2018   1769    Safesite, Inc.                Invoice SH-108627                 Texas Capital Bank 8111056217        68000 · Storage Fees                                    164.50
                  Check          01/12/2018   1771    Epiq Bankruptcy Solutions     Invoice 90221548                  Texas Capital Bank 8111056217        61700 · Computer and Internet Expenses                  632.85
                  Check          01/24/2018   1772    Epiq Bankruptcy Solutions     40008193                          Texas Capital Bank 8111056217        61700 · Computer and Internet Expenses                  686.50
    Total Other                                                                                                                                                                                              -     4,415.60


TOTAL DISBURSEMENTS                                                                                                                                                                                          -   108,665.25




EXHIBIT A                                                                                                                                                                                                                     Page 1 of 1
